            Case 1:12-cr-00038-AWI-BAM Document 99 Filed 11/09/12 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    JEREMY SERGIO KROGER, Bar #258956
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant
6    ELGERON GRAVES
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. 1:12-cr-00038 AWI-DLB-2
                                           )
12                     Plaintiff,          )
                                           )             UNOPPOSED MOTION TO EXTEND
13         v.                              )             SURRENDER DATE; ORDER THEREON
                                           )
14   ELGERON GRAVES,                       )
                                           )
15                     Defendant.          )
     _____________________________________ )
16
17          Defendant Elgeron Graves, by his attorney of record, Assistant Federal Defender, Jeremy S.
18   Kroger, hereby moves the Court for a one-month continuance of his surrender date, presently set for
19   December 13, 2012. Mr. Graves respectfully submits that this continuance is in the best interests of
20   justice for the following reasons.
21          Mr. Graves is in the process of securing a loan on several items of property that he owns. The
22   money from this loan will be used to support his wife and two daughters during his one-year incarceration.
23   Because there is an IRS lien on the properties, he first must work with the IRS to subordinate the lien
24   before the bank will issue a loan. He has already begun the process, but in his discussions with the IRS
25   and with his bank, Mr. Graves is informed that the matter will not be concluded until early- to mid-
26   January. He therefore requests that the Court continue his surrender date from December 13, 2012, to
27   Monday, January 14, 2013, so that he can obtain the money needed to support his family during his
28   incarceration.
            Case 1:12-cr-00038-AWI-BAM Document 99 Filed 11/09/12 Page 2 of 2


1            Counsel for Mr. Graves has discussed this matter with AUSA Karen Escobar and is informed that
2    the government does not oppose this brief continuance of Mr. Graves’s surrender date.
3
             DATED: November 9, 2012                                      DANIEL J. BRODERICK
4                                                                         Federal Defender
5
                                                                      By /s/ Jeremy S. Kroger
6                                                                        JEREMY S. KROGER
                                                                         Assistant Federal Defender
7                                                                        Attorneys for Defendant
                                                                         Elgeron Graves
8
9
                                                       ORDER
10
             IT IS SO ORDERED. Elgeron Graves’s surrender date is extended one month, from December
11
     13, 2012, to January 17, 2013. Mr. Graves shall surrender for service of his sentence at the institution
12
     designated by the United States Bureau of Prisons before 2:00 p.m. on Thursday, January 17, 2013. All
13
     other conditions of his release shall remain in effect.
14
15
     IT IS SO ORDERED.
16
17   Dated:     November 9, 2012
     0m8i78                                                        UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28

     Elgeron Graves — Motion to Extend
     Surrender Date; and Proposed Order                        2
